Case 1:23-cr-00047-MHC-JEM Document5 Filed 01/09/23 Paget SDAIN OPEN COURT
U.S.D.C. Atlanta

JAN 09 2023

IN THE UNITED STATES DISTRICT COURT caving fs ley
FOR THE NORTHERN DISTRICT OF GEORGIA lui £e

ATLANTA DIVISION

UNITED STATES OF AMERICA

Criminal Action No.
1:23-MJ-027-CMS

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KRISTOPHER KNEUBUHLER

Government's Motion for Detention
The United States of America, by counsel, Ryan K. Buchanan, United States
Attorney, and Theodore S. Hertzberg, Assistant United States Attorney for the
Northern District of Georgia, moves for detention under 18 U.S.C. §§ 3142(e) and
(f).
1. Eligibility of Case
This case is eligible for a detention order because this case involves a crime of

violence.

2. Reason for Detention

The Court should detain defendant because there are no conditions of release
that will reasonably assure the appearance of the person as required and the safety

of any other person and the community.

3. Rebuttable Presumption

The United States will invoke the rebuttable presumption that no condition or
combination of conditions will reasonably assure the appearance of the defendant
as required and the safety of the community pursuant to 18 U.S.C. § 3142(e)(3).

The presumption applies because there is probable cause to believe that the
Case 1:23-cr-00047-MHC-JEM Document5 Filed 01/09/23 Page 2 of 3

defendant committed an offense involving a minor victim under 18 U.S.C. §
2252(a)(2).
4. Time for Detention Hearing

The United States requests the Court conduct the detention hearing after a

continuance of three (3) days.

The United States requests leave of Court to supplement this motion with

additional grounds or presumptions for detention.

Dated: January 9, 2023.

Respectfully submitted,

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RYAN K. BUCHANAN
United States Attorney
Case 1:23-cr-00047-MHC-JEM Document5 Filed 01/09/23 Page 3 of 3

Certificate of Service

The United States Attorney’s Office served this document today by handing a copy

_to defense counsel.
January 9, 2023

/S/ THEODORE S. HERTZBERG

THEODORE S. HERTZBERG

Assistant United States Attorney
